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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


Protective Life Insurance Company, et al.,
                                                       DEFAULT JUDGMENT IN A CIVIL CASE
                                Plaintiffs,
         v.                                            Case Number: 2:21-cv-00835-APG-VCF
David Flicek, et al.,


                                 Defendants.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED
         that judgment is entered in favor of Protective Life Insurance Company and MONY Life Insurance
         Company and against the Estate of Althaea Flicek.




         11/19/2021
         ____________________                                 DEBRA K. KEMPI
         Date                                                Clerk



                                                              /s/ M. Reyes
                                                             Deputy Clerk
